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       Exhibit B
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                                  K. Thor Eells
                            19875 Indian Summer Lane
                              Monument, CO 80132
                           Phone Number: 719-310-7664


                                  FEE SCHEDULE

CASE REVIEW AND PREPARATION
     $175.00

     This basic hourly fee applies to all directed activities associated with case review,
     analysis, research, preparation, and production. Included in this category are:
            Review of case documents or exhibits.
            Tactical debriefings or witness interviews.
            Meetings, report writing, or teleconferencing.
            Production of documents, exhibits, or displays.
            Site surveys, photography, or forensic analysis.

CASE PRESENTATION
      $225.00
(Deposition)

     This basic hourly fee applies to all depositions and is in compliance with the
     Federal and State rules governing “expert witnesses.” This hourly fee begins
     when my presence is required at the deposition location. This fee is separate and
     distinct from other fees such as preparation, travel, lodgings, meals, etc. These
     fees will be billed at cost.

DIRECTED TRAVEL
(At Cost)

     All travel related expenses, including transportation, insurance, lodging, and
     meals, will be billed at actual costs. Costs of airfare may include insurance and/or
     messenger expenses associated with such purchases. Travel time and non-activity
     days away from El Paso County, CO will be billed at a reduced hourly rate.
     ($75.00 per hour for actual travel time from office to destination and return. Non-
     activity days will be calculated as eight-hour days, or $600.00)

STATEMENT OF ACCOUNT

     Retainers are required for all cases. A set fee of $1500.00 must precede or
     accompany the case file. Itemized billings (Statement of Account) will be
     prepared and submitted on a periodic basis consistent with the activities of the
     account. Payment is due upon receipt of a billing. Late charges may be assessed
     on overdue accounts at a rate of 1.5% interest per month on the unpaid balance.
